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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America

v. Case: 1:19-cr-00018
Roger Jason Stone, Jr. Assigned To : Judge Amy B Jackson
Assign. Date : 01/24/2019

Description: INDICTMENT (B
Related Case: 18cr215 ne ee LED

 

Defendant / . JAN 19 209
: d
ARREST WARRANT \, US: DistieetS
clet ‘ 0 cv a
To: Any authorized law enforcement officer net

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Roger Jason Stone, Jr. ,
who is accused of an offense or violation based on the following document filed with the court:

 

@ Indictment O Superseding Indictment Information © Superseding Information © Complaint

Probation Violation Petition © Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1505 (Obstruction of Official Proceeding)
18 U.S.C. § 1001 (False Statements)

18 U.S.C. § 1512(b)(1) (Witness Tampering)

18 U.S.C. § 2 (Causing an Act to be Done)

  

Date: 01/24/2019

Issuing officer's opA_S

City and state: | Washington, D.C. Magistrate Judge Deborah A. Robinson

Printed name and title

 

 

 

Return

 

 

This warrant was regeived on oe (1-25-20 _, and the person was arrested on (date) Loo. af]
at (city and state) Fy 7 cu cl Ly A he 1.6 CG Z ‘ie

Date: LIS POG Cob fA bres —
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Printed name and title

 

 

 

 
